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LORRAINE J. LANE, individually and on 73 " “'*'>»;.?;f~‘ , l
behalf of all others similarly situated, Case No. ‘, \3.6\/___ Owo\_ :B~__a` § //. ‘i)__

Plaimiff,
CLASS AcTIoN coMPLArNT

V.

ENHANCED RECOVERY COMPANY LLC, JURY TRIAL DEMANDED
a Delaware limited liability company,

Defendant.

 

 

CLASS ACTION COMPLAINT

1. Plaintiff Lorraine J. Lane (“Lane” or “Plaintiff”) brings this Class Action

 

Complaint against Defendant Enhanced Recovery Company (“ERC” or “Defendant”) to
stop its practice of placing calls using an “automatic telephone dialing system” (“A'I`DS”)
to the cellular telephones of consumers nationwide without their prior express consent
and to obtain redress for all persons injured by its conduct. Plaintiff Lane for her Class
Action' Complaint alleges as follows upon personal knowledge as to herself and her own l
acts and experiences, and, as to all other matters, upon information and belief, including
investigation conducted by her attorneys

2. Thc Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA” or the
“Act”) was enacted to protect consumers from unauthorized calls like those alleged in
this Complaint - autodialed calls placed to cellular telephone numbers without
consumers’ prior express consent.

3. Defendant’s violations of the Act have caused Plaintiff` and the members

of the Class (defined below) to experience actual harm, including the aggravation,

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nuisance, and invasion of privacy that necessarily accompanies the receipt of autodialed
calls, in addition to the loss of functionality, diminution in available data and battery life,
and the ability to use and enjoy their cellular telephones

4. In response to Defendant’s unlawful conduct, Plaintiff files the instant
lawsuit, seeking: (1) an injunction requiring Defendant to cease placing autodialed calls
to cellular telephones without the express consent of the recipients; and (2) an award of
statutory damages to the members of the putative Class under the TCPA to be paid into a
common fund for the benefit of the Class Members, together with costs and reasonable
attomeys’ fees.

PARTIES

5. Plaintiff Lane is a natural person and resident of the State of Arizona
residing in the City of Fort Mohave.

6. Defendant Enhanced Recovery Company’s primary corporate
headquarters is located at 8014 Bayberry Road, Jacksonville, Florida 32256. ERC does
business throughout the United States, including in the State of Florida and this District,

JURISDICTION & VENUE

7. This Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. §1331, as the action arises under the Telephone Consumer Protection Act, 47
U.S.C. §227, a federal statute.

8. The Court has personal jurisdiction over Defendant and venue is proper in
this District because Defendant regularly conducts business in the State of Florida and in
this District, and a substantial part of the events giving rise to the claims asserted here

occurred in or emanated ii'om this District, Venue is additionally proper in this District

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because Defendant is a resident of this District.
COMMON ALLEGATIONS OF FACT
9. The Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. and its
implementing regulations, 47 C.F.R. §64.1200, et seq. prohibit companies, such as ERC,
from placing calls using an ATDS and/or using an artificial or prerecordcd voice when
making calls to cellular telephones without first obtaining express consent.
10. ERC is a debt collector that uses autodialer technology to collect debts.‘
ERC regularly calls consumers using an autodialer without their express consent in
violation of the TCPA.
ll. ln fact, a former employee of Defendant noted that “[consumer]
complaints are due to harassment via dialer." 2
12. The following sample of consumer complaints are proof of ERC’s practice
of placing autodialed calls to non-consenting cellular telephone owners:
0 this number calls me every second day or so, i have
stopped picking it up as there is no person
answering;
o DiH`erent people from ERCollection call me through
out the day for the last three weeks and will never
tell me what they're calling about. When I ask they

refuse to tell me except that it is personal and need
an address.4

 

' As of May 2013, a position existed at ERC referred to as “Dialer Support Manager.”
See https://www.linkedin.com/in/richard-price-9aa544l 0/.

2See https://www.glassdoor.com/Reviews/ERC-dialer-Reviews-
EI_IE406406.0,3_KH4,10.htm

3 See http://800notes.com/Phone.aspx/l -800-875-5143/5.

4 See https://www.bbb.org/north-east-florida/business-reviews/collections-
agencies/enhanced-recovery-company-llc-in-jacksonville-fl-l 6000495/reviews-and-
complaints

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¢ Asked for a specific person and told me the call was
being recorded. I told them they had the wrong
number. They asked if I knew the person. I told
them no and I just got this phone number yesterday.
They apologized and said they Would remove my
number from there calling list. Sounds like a debt
collector;5

¢ This number calls me at least 3 times a day every
day and they never say anything;°

0 This number keeps calling me at all hours and the
times I’ve answered no one is there. It’s borderline
harassment;7
0 Calls several times a day, when I answer they hang
up. I called back and they tell me I owe money, I
have no debt;8 and
0 Debt collector asking for someone with a name I
didn’t even recognize Given I’ve had this phone
number for at least 12 years, how the heck old is
this debt?9
13. Defendant knows or should know that its autodialed calls are placed to
non-consenting cellular telephone number subscribers. Indeed, Defendant has received
numerous consumer complaints alerting it to this very fact. Ultimately, Defendant is
responsible for verifying cellular telephone number ownership and obtaining consent

before placing autodialed calls to cellular telephone subscribers

14. Even with prior cellular subscriber consent, Defendant is liable under the

 

5 See http ://800notes.com/Phone.aspx/ 1-800-875-5 143/5.
6 See id.

7 See http://800notes.com/Phone.aspx/1-800-875-5143/6.
8 See id.

9 See id.

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TCPA for placing autodialed calls to cellular telephone numbers reassigned to new
subscribers without the new subscriber’s consent See Soppet v. Enhanced Recovery Co.,
LLC, 679 F.3d 637, 641 (7th Cir. 2012) (under the TCPA, “[c]onsent to call a given
number must come from its current subscriber,” not its prior subscriber); Breslow v.
Wells Fargo, 755 F. 3d 1265, 1267 (l lth Cir. 2014) (consent from “called party” means
consent from the person subscribing to the called number at the time the call was made,
not the former subscriber); In the Matter of Rules and Regulations Implementing the
Telephone Consumer Protection Act of 1991 , Report and Order, jj 123, 18 FCC Rcd.
14014, 2003 WL 21517853 (July 3, 2003) (“we reject proposals to create a good faith
exception for inadvertent autodialed or prerecordcd calls to wireless numbers. . .”)

15. Given the multitude of readily available commercially feasible resources
to identify such consumers, Defendant had ready means to identify those consumers and
to obtain their prior express consent before placing autodialed calls to their cellular
telephones

FACTS SPECIFIC TO PLAINTIFF LANE

16. On or around December of 2016, Lane began receiving calls on her
cellular telephone from telephone number 800-875-5143 (the “5143 Number”).

17. When Lane would answer calls from the 5143 Number, the calls were
immediately terminated without being able to speak to anyone. Such immediate
termination is indicative of the use of an ATDS.

18. The 5143 Number called Lane repeatedly on her cellular telephone. Lane
received autodialed calls on her cellular telephone from the 5143 Number at the

following dates: l.) December 30, 2016; 2.) January 3, 2017; 3.) January 5, 2017; 4.)

 

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January 6, 2017; 5.) January 9, 2017; 6.) January 10, 2017; 7.) January 27, 2017; 8.)
February l, 2017; 9.) February 2, 2017; 10.) February 10, 2017; ll.) February 13, 2017;
and 12.) February 20, 2017.

19. The 5143 Number belongs to ERC.'°

20. At no time did Lane consent to the receipt of autodialed calls to her
cellular telephone from ERC, let alone provide prior oral or written express consent to
ERC for such calls to be placed.

21. Lane is not indebted to ERC or any company that has employed ERC.

22. By making unauthorized autodialed telephone calls as alleged herein, ERC
caused Plaintif actual harm and cognizable legal injury. This includes the aggravation,
annoyance, and nuisance and invasions of privacy that result from the receipt of such
calls in addition to a loss of value realized for the monies Lane paid to her wireless
service provider for the receipt of such calls. Furthermore, the calls interfered with
Lane’s use and enjoyment of her cellular telephone, including the related data, soliware,
and hardware components. ERC also caused substantial injury to Lane’s phone by
causing wear and tear on her property, consuming battery life, and appropriating cellular
data and minutes.

23. On behalf of the Class, Lane seeks an injunction requiring ERC to cease
all unsolicited and unauthorized autodialed calling activities and an award of statutory
damages to the class members, together with costs and reasonable attomeys’ fees.

CLASS ALLEGATIONS

24. Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

 

'° A recording identities the company as ERC when calling the 5143 Number.

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23(b)(2) and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks
certification of the following Class:
Autodialed No Consent Class: All persons in the United States who: (l)
from four years prior to the filing of the initial complaint in this action to
the present; (2) Defendant (or a third person acting on behalf of
Defendant) placed an autodialed call to; (3) the person’s cellular
telephone number; and (4) for whom Defendant claims it obtained prior

express consent in the same manner as Defendant claims it obtained prior
express consent to call the Plaintiff.

25. 'I'he following individuals are excluded from the Class: (l) any Judge or
Magistrate presiding over this action and members of their families; (2) Defendant, its
subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their
parents have a controlling interest and their current or former employees, officers and
directors; (3) Plaintiff's attorneys; (4) persons who properly execute and file a timely
request for exclusion from the Class; (5) the legal representatives, successors or assigns
of any such excluded persons; and (6) persons whose claims against Defendant have been
fully and finally adjudicated and/or released. Plaintiff anticipates the need to amend the
class definition following appropriate discovery.

26. On information and belief, there are hundreds, if not thousands, of
members of the Class such that joinder of all members is impracticable

27. There are several questions of law and fact common to the claims of
Plaintiff and the other members of the Class, and those questions predominate over any
questions that may affect individual members of the Class. Common questions for the
Class members that may be answered in a single stroke include but are not limited to the
following:

a. whether Defendant’s conduct constitutes a violation of` the TCPA;

b. whether Defendant utilized an automatic telephone dialing system to place

 

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autodialed calls to members of the Class;

c. whether Defendant obtained prior express consent to contact any Class
members; and

d. whether members of the Class are entitled to treble damages based on the
willfulness of Defendant’s conduct,

28. The factual and legal bases of Defendant’s liability to Plaintiff and to the
other members of the Class are the same, resulting in injury to the Plaintiff and to all of
the other members of the Class, including the annoyance and aggravation associated with
such autodialed calls as well as the loss of cellular plan minutes and temporary inability
to enjoy and use their cellular telephones, as a result of the transmission of the autodialed
calls alleged herein, Plaintiff and the other members of the Class have all suffered harm
and damages as a result of Defendant’s unlawful and wrongful conduct of placing
autodialed calls. Plaintiff’ s claims are typical of the claims of the members of the Class as
all members of the Class are similarly affected by Defendant’s wrongful conduct.
Plaintiff, like other members of the Class, received unsolicited autodialed calls from
Defendant. Plaintiff is advancing the same claims and legal theory on behalf of himself
and all absent members of the Class.

29. Plaintiff will fairly and adequately represent and protect the interests of
the other members of the Class, Plaintiffs claims are made in a representative capacity
on behalf of the other members of the Class. Plaintiff has no interest antagonistic to the
interests of the other members of the proposed Class and is subject to no unique defenses.
Plaintiff has retained counsel with substantial experience in prosecuting complex

litigation and class actions. Plaintiff and his counsel are committed to vigorously

 

 

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prosecuting this action on behalf of the members of the Class, and have the financial
resources to do so. Neither Plaintiff nor his counsel has any interest adverse to those of
the other members of the Class,

30. The suit may be maintained as a class action under Federal Rule of Civil
Procedure 23(b)(2) because Defendant has acted, and/or has refused to act, on grounds
generally applicable to the Class, thereby making appropriate final injunctive relief.
Specifically, injunctive relief is necessary and appropriate to require Defendant to
discontinue placing unsolicited and unauthorized autodialed calls to the public. Likewise,
Defendant has acted and fails to act on grounds generally applicable to the Plaintiff and
the other members of the Class in placing the autodialed calls at issue, requiring the
Court’s imposition of uniform relief to ensure compatible standards of conduct toward
the members of the Class,

31. In addition, this suit may be maintained as a class action under Federal
Rule of Civil Procedure 23(b)(3) because a class action is superior to all other available
methods for the fair and efficient adjudication of this controversy. Absent a class action,
most members of the Class would find the cost of litigating their claims to be prohibitive,
and will have no effective remedy. The class treatment of common questions of law and
fact is also superior to multiple individual actions or piecemeal litigation in that it
conserves the resources of the courts and the litigants, and promotes consistency and
efficiency of adjudication. The claims asserted herein are applicable to all consumers
throughout the United States who received an unsolicited and unauthorized autodialed
call from Defendant. The injury suffered by each individual class member is relatively

small in comparison to the burden and expense of individual prosecution of the complex

 

 

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and extensive litigation necessitated by Defendant’s conduct. lt would be virtually
impossible for members of the Class individually to redress effectively the wrongs done
to them. Even if the members of the Class could afford such litigation, the court system
could not. lndividualized litigation presents a potential for inconsistent or contradictory
judgments individualized litigation increases the delay and expense to all parties, and to
the court system, presented by the complex legal and factual issues of the case. By
contrast, the class action device presents far fewer management difficulties, and provides
the benefits of single adjudication, economy of scale, and comprehensive supervision by
a single court.

32. Adequate notice can be given to the members of the Class directly using
information maintained in Defendant’s records or through notice by publication.

FIRST CAUSE OF ACTION
Telephone Consumer Protection Act
(Violation of 47 U.S.C. § 227)
(On Behalf of Plaintiff and the Autodialed No Consent Class)

33. Plaintiff incorporates by reference the foregoing allegations as if fully set
forth herein.

34. Defendant made unsolicited and unauthorized autodialed calls to cellular
telephone numbers belonging to Plaintiff and the other members of the Autodialed No
Consent Class-without their prior express consent

35. Further, Defendant made the telephone calls using equipment that had the
capacity to store or produce telephone numbers to be called using a random or sequential
number generator, and/or receive and store lists of phone numbers, and to dial such
numbers, en masse. Defendant utilized equipment that made the telephone calls to

Plaintiff and other members of the Autodialed No Consent Class simultaneously and

without human intervention. The telephone dialing equipment utilized by Defendant, also

 

 

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known as a predictive dialer, dialed numbers from a list, or dialed numbers from a
database of telephone numbers, in an automatic and systematic manner. Defendant’s
ATDS disseminated information en masse to Plaintiff and other members of the
Autodialed No Consent Class.

36. By placing unsolicited and unauthorized autodialed calls to Plaintiff and
the cellular telephones of members of the Autodialed No Consent Class without their
prior express consent, and by utilizing an automatic telephone dialing system and/or
utilizing a pre-recorded voice to make those calls, Defendant violated 47 U.S.C. §
227(b)(l)(A)(iii).

37. Defendant has, therefore, violated 47 U.S.C. § 227(b)(l)(A)(iii). As a
result of Defendant’s conduct, Plaintiff and the other members of the Autodialed No
Consent Class are each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of
$500.00 in damages for each violation of such act.

38. ln the event that the Court determines that Defendant’s conduct was
willful and knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of
statutory damages recoverable by Plaintiff and the other members of the Autodialed No

Consent Class,

WHEREFORE, Plaintiff Lorraine J. Lane, individually and on behalf of the
Class, prays for the following relief:

A. An order certifying the Class as defined above, appointing Plaintiff Lane
as the representative of the Class, and appointing his counsel as Class Counsel;

B. An award of actual and statutory damages to be paid into a common fund
for the benefit of the Class Members;

C. An order declaring that Defendant’s actions, as set out above, violate the

TCPA;

 

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D. A declaratory judgment that Defendant’s telephone calling equipment
constitutes an automatic telephone dialing system under the TCPA;

E. An order requiring Defendant to disgorge any ill-gotten funds acquired as
a result of its unlawful telephone calling practices;

F. An order requiring Defendant to identify any third-party involved in the
autodialed calling as set out above, as well as the terms of any contract or compensation
arrangement it has with such third parties;

G. An injunction requiring Defendant to cease all unsolicited autodialed
calling activities, and otherwise protecting the interests of the Class;

H. An injunction prohibiting Defendant from using, or contracting the use of,
an automatic telephone dialing system without obtaining, and maintaining records of, call
recipient’s prior express written consent to receive calls made with such equipment;

I. An injunction prohibiting Defendant from contracting with any third-party
for marketing purposes until it establishes and implements policies and procedures for
ensuring the third-party’s compliance with the TCPA;

J. An injunction prohibiting Defendant from conducting any future
telemarketing activities until it has established an internal Do Not Call List as required by
the TCPA;

K. An award of reasonable attomeys’ fees and costs to be paid out of the
common fund prayed for above; and

L. Such other and further relief that the Court deems reasonable and just.

JURY DEMAND

Plaintiff requests a trial by jury of all claims that can be so tried.

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Dated: December 29, 2017

Respectf`ully Submitted,

 

HIRALDO P.A.

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